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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 1:20-cr-00305-DDD

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

      1. MICHAEL AARON TEW;

      2. KIMBERLY ANN TEW; and
         a/k/a Kimberley Vertanen

      3. JONATHAN K. YIOULOS,

 Defendants.


                          DESIGNATION OF RECORD ON APPEAL

         Michael Tew, through counsel Jason D. Schall of Bowlin & Schall LLC and Kristen M.

 Frost of Ridley McGreevy & Winocur PC, respectfully files his Designation of Record on Appeal.

         Those original papers and transcripts which have been designated by circling their

 respective docket numbers (or dates of entry) on the attached copy of the District Court’s docket

 sheets should be included in the record on appeal and prepared by the clerk of the District Court

 and transmitted to the clerk of the Court of Appeals. See Exhibit A. Please note that we are not in

 receipt of some of the listed transcripts, but some transcripts have already been ordered and are a

 part of the record.

         Additionally, Mr. Tew designates all prosecution and defense exhibits from the jury trial

 and all motions hearings, including those introduced and not admitted and those admitted.
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                                             Respectfully submitted,

                                             s/ Kristen M. Frost
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                                             s/ Jason D. Schall
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                                             Attorneys for Defendant Michael Tew



         I hereby certify that the foregoing pleading complies with the type-volume limitation set
 forth in Judge Domenico’s Practice Standard III(A)(1).
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 25th day of November, 2024, I served a true and correct copy
 of the foregoing DESIGNATION OF RECORD ON APPEAL electronically with the Clerk of
 the Court via the CM/ECF system, which will send notice of such filing to the Court and parties.



                                                     s/ Kristin McKinley
                                                     Kristin McKinley
